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                                  UNITED STATES'DISTRICT COURT
                                   EASTERN Di$TRI(T OF MIS.SOUR.I
                                        EASTERN DIVISION

    UNITED STATES OF AMERICA,                          }
                                                       )
                                                       )
                                                       )
    v.                                                 )     No. 4:21 CR 250 MTS
                                                       )
    BRIJ\N GANSEREIT,                                  )
                                                       )
         Defendant.                                    )
                                                       )

                                    CGUIL TY PLEA AGREEMENT

            Come now the pa1tiesiaifd hereby agree; as follpws:

    1. PARTIES:

            The parties arc the defendant Brian Ga11sercit, represe1Jted by defense 9ounsel Kcyin

    Cumin, and the United States of America (hereinafter "United States" or "Government"),

    represented by the Office of the United States A(ton)ey for the Eastern District ofMi!-souti. This

    a~ree:ment docs not, and is not intended to, bii1d any governmental office or agency other than

    the United States Attorney for the Eastern District of l\1issouri. The Court is neither a party to

    nqr bound by-this agreement.

    2; GUILTY PLEA;

            Pursuant to Rule 1l(~)(l)(A), Federal Rules of Ctiminal Procedure; "in ·exchange for the

    dere11dant' s voluntary plea of guilty to Counts 2 and 3 of t_he hidictmen~, the government:agrees

    to dismiss Count l and also agrees that no further federal prosecution will be brought in this

    District relative to the defendant's false statements   in connection with making a 'loan to United
    Stzites Department ·of Agricultun,; Farm Service Agency (FSA) and converting to bis ow11 use


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    property pledged as collateral to FSA fromMarch 2018 through January 2019, of which the

    .Government is aware at this time.

            In addition, theparti~s agree th;:tt the U.S. Senl~ncing Ouideline.s Tota} Offense Level
    an.ilysis _agreeq t9   liy the parties herein1s the re_su1t of neg9tiil,tiqn ancl ied, fo part; to t)ie: gui\ty
    JJ1¢~,
     .
           The parties
               .       further agree that either. par,ty may
                                                     .,   .
                                                          '
                                                             ,request a sentenc_e above or b,elow the U.S.

    Sente11cihg Guidejines range (combination of Total O:i:fonseLevel mrq Cri~11n.al History

    Category) uftimately.·determinedby the Court· pursqant fo any chapter .ofthe Guidelines a_nd Title

    ·1 s;JJnited States Code, Section3553(a). The parties further agree that notice of any such

    request will be given no later than ten days prior to sentencing and that said notice shallspecify

    theJegal and factual bases forthe request.

    3. ELEMENTS:

            The defendant admits to knowingly violating Title 18, United States Code, S~ction 658,

    and admits there is a factual basis for the plea and further fully understands that 'the elements of

    ·the crimes are:

                                             COUNTS 2 and 3
                           {Property Mortgaged or Pl~dged t(? Farm .Credit Agency)

            One, the defendant knowingly;

            Two, converted to defe11dant' s own use property that was pledged as col!ateral to              the
    .FSA;and

            Three, the defendant did so with the intent to defraud.




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    4. FACTS:

            The parties agree that the facts in this case are as follows and that the governmentwould

    prov.c .thes~ facts beyond a reas.onablc doubt if the case were to go to trial. These facts may be

    considered as relevant condµct pursuant to Sc.ct ion 181.3:

            The Secretary of Agriculture acting through the Fam1 Service Agency ("FSA") (a

    successor agency of the Fam1et's Home Administration) provides loans for family-sized farmers

    and. ranchers to start or continue farming or ranching. These ioans are managed by the FSA,

    which is responsible for approving, collecting, servicing, an_d liquidating loans made by the

    Secretary of Agriculture.

            FSA borrowers havc,to complete anq sign an "Agreement for thelJse of Proceed~·and

    Secm;ity.'' The agreement stated, among other things, that FSA has a secm-ity interest in     aB
    property (referred to as collateral) described in the Security Agreemcnt(s), in addition to any

    after acquired property. This agreement also requires that the proceeds from the sale of security,

    such as livestock, must always be used to pay expenses and loan payments, that both FSA and

    the borrower's name must appear as the payees on all checks received, that the borr.ower ,is.

    required ro keep a record of collateral disposed of, and that the borrower may sell collatetal to

    purchasers not ~peciftcally listed in the agreement,- although fhe borrower: is required to

    immediately notify the FSA of the sale and provide the purchaser's name and address.

           FSA borrowers have to complete and sign a "Security Agreement." The security

    agreement created a blanket lien on all proceeds, pro"ducts, and s~curity acquired, including

    crops 1 famrequipment, other equipment, inventory, and livestock owned at the time of the loan

    or ac9uired,during the life of the loan. Among other items, the borrower agrees that he is the


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    absolute owner ofthe collateral, that statements contained in the loan application and related loan

    documents are tme and correct, (hat prompt payment will be made when due, financ1ng

    stafeme1its describing the collateral can be filed by the FSA, and that the borrower will

    1111mcdiately notify the FSA of any material chatige in die coll_ateral. In addition, the agreement

    sti1tes t~at tlw disposal of property without the cohsent of the FSA, or making any false

    state111enls, may cons.titute a viol~tion of :fedei"al criminal law.

             Once an FSA loan is made, the FSA issues lien notifications to banks, sale qams,

    imrlement dealers, and other simi_lar entities in or around the county in which the FSA borrower

    operates. These lien notifications are intended to notify these entities that the FSA has a

    collateral interest in the assets ofthe borrower. In this way, the.·FSA seeks to ensurethatpledged

    assets are not sold without the FSA's knowledge and that the FSA receives proceeds from the

    sale-of assets pledg~d as collateral for FSA loans.

             On December 6, 2017, while living in Leslie, Missouri, defendant Gansereit applied for

    'two FSA loans: an operating loat1 and a direct loan to assist him in starting his own farm. These

   ·loans were denied by FSA because Gansereit had no external incorne and proposed making

    _p"ay111~nts on the loans strictly frorn. the fann's jncome. FSA s.9 informed Ga11sereit c:in January 4,

    201,8.

             On March 5, 2018, defendant made new a.pplications to fSA, essentially the ~ame as

    befoi'e, f10wever added external employment at lTS CohGlobal.          Based on this representation,

    FSA aj)proved defendant for an operating foan ofS64,000 and a direct loan        of approximately
    $160,000.

             On April 16, 201 8, defendant signed a security agreement with FSA in which he

    acl<nowiedged that selling livestock pledged. as col_Iaternl on th~se loans would be a c:rimin_al. law

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    vioJhtion. befcmdant also signed an agreeme_nt on use of proceeds which made FSA the payee

    011fhe s~lc of any collateral livestock.

            However, despite these agreements and knowing of the criminal consequences, defendant

    sold goats valuingin excess of $1,000 pledged as collateral to FSA without the pe1111ission or

    consent of FSA These sales were made on July 26, 2018 and January 17, 2019 to Midwest

    Exchange.Regional Stockyards, located in Mexico, Missouri, within the Eastern District of

    Missouri, in the amounts of $1,256.96 and $10,249.25 respectively. Rather than sending these

    proceeds to FSA, defendant converted them to his own personal us.e by depositing the monies

    .into µ personal bank account. Defendant did so with the intent to defraud FSA.

    5. STATUTORY PENALTIES:

            The defendant fully understands that the maximum possible penalty provided by law for

    the crih1es to whfoh the defendant is pleading guilty for Counts 2. and 3 is-impdsonment of not

    Iilo_re than 5 years, a fine of not more tlian -$25Q,000, or bQth such imprisorhnent an:d:fine. The

    C91.11-f may also impose a period of supervised release of not rnore thail 3 years.

    6.   U.S. SENTENCING GUIDELINES:             2018 MANUAL:

            TI1e defendant understands that this offense is affected by the U.S. Sentencing Guidelines

    and H1e actual sen1cncing range is determined by both the TMril Offense Level and the Criminal

    History Category. '(he parties agree that the following are the applicable U.S. Sentencing

    Guidelines Total Offense Level provisions.

           :a. Chapter 2 Offense Conduct:

                    (1) sa·se Offense Level:. The parties agree that the base offense level is 6, as

    foui1d in Section 2B 1.1 (a)(2).



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                    (2) Specific Offense Characteristics: The pmiies agree that l 0 levels should be

     added pursuant to Section 2B l. l(b )( I )(F) as the loss exceeded $150,000 but was less than

     $250,000.

            b. Chapter 3 Adjustments:

                    {1) Acceptance of Responsibility: The parties agree that two levels should be

     deducted pursuant to Section 3E 1.1 (a) because the defendant has clearly demonstrated

     acceptance of responsibility. Further, the Govc1'n111ent, under the facts known at present, will

     make a motion at the time of sentencing for an extra I level.reduction based on the defendant's

     timely notification of his intention to plead guilty. The parties agree that the defendant's

     c!Igibility for this deduction is based upon infommtion presently known. If subsequent to the

     taking of the guilty pica the government receives new evidence of statements or conduct by the

    defendant which it believes arc inconsistent with defendant's eligibility for this deduction, the

    government may decide not to file a motion for the extra 1 level reduction and may present

    evidence to the court, and argue that the defendant should not receive all or part of the 2 lcvcl

    deduction pursuant to Section 3El .1 (a), without violating the plea agreement.

            c. Estimated Total Offense Level: The parties estimate that the Total Offense Level is

     13.

            d. Criminal History: The determination of the defendant's Criminal HistmyCategory

    shall be left to the Court. Either party may challenge, before and at sentencing, the finding of the

    Presentence Report as to the defendant's criminal history and the applicable category. The

    defendant's criminal history is known to the defendant and is substantially available in the

    Pretrial Services Report.


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             e. Effect of Parties' U.S. Sentencing Guidelines Analysis : The parties agree that the

     Court is not bound by the Guidelines analysis agreed to herein. The parties may not have

     foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any

     Guideline despite the agreement herein and the parties shall riot be permitted to withdraw from

     the pica agreement.

     7. WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

             a. Appeal: The defendant has been fully apprised by defense counsel of the defendant's

     rights concerning appeal and folly understands the right to app~al the sentence under Title 18,

     United States Code, Section 3742.

                     (1) Non-Sentencing Issues: The parties waive all rights to appeal all non-

    jurisdictional, non-sentencing issues, including, but not limiied to, any issues relating to pretrial

     1n'oifons, discovery, the guilty plea, the constitutionality of the statutc(s) to which defendant is

    pleading guilty and whether defendant's conduc.l fulls within the scope of the statutc(s).

                     (2) Sentencing Issues: In the event the Court accepts the plea, accepts the U.S.

    Sentencing Guidclin~ Total Offense Level agreed to herein, and, after dctcn'nining a Sentencing

     Guidelines range, sentences the defendant within or below that range, then, as part of this

     agreement, the defendant hereby waives all rights to appeal all sentencing issues other than

    Criminal History, but only if it affects the Base Offense Level or Criminal History Category.

    Similarly, the Government hereby waives all rights to appeal all sentencing issues other than

    Criminal History, provided the Court accept~ the plea, the agreed Total Offense Level and

    .se1'1tences the defendant within or above that range.




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            b. Habeas Corpus: The defendant agrees to waive all rights to contest the con:victibn       01'


     sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

     Code; Section 2255, except for claims of pi•osccutorial misconduct or ineffective assistance of

     counsel.

            c. Right to Records: The defendant waives all rights, whether assc1tcd directly or by a

     representative, to request from any dcpattmcnt or agency of the United States any records

     petiaining to the investigation or prosecution of this case, including any rec.ords that may be

     sought under the Freedom of information Act, Title 5, United States Code, Section 522, or the

     Privacy Act, Title 5, United States Code, Section 552(a).

     8; OTHER:

            a. Disclosures Required by the United States Probation Office : The defendant agrec:s

     to:truthfully complete and sign fonm as required by the United States Proba_tion Office prior to

    sentencing and consents to the release of these fom1s and any supporting documentation by the

    United States Probation Office to the government.

            b. Civil or Administrative Actions not Barred; Effect on Other Governmental

    Agencies: Nothing contained herein limits the rights and authority of the United States to take

    any civil, tax, immigration/deportation or achninistrative ac,tion against the defendant.

            c. Supervised Release: Pursuant lb any supervised release tem1, the Court will impose

    standard conditions upon the defendant and may impose special conditions related to the crime

    defei1dant committed.    These conditions will be restrictions on the defendant to which the

    defendant will be required to adhere. Violation of the conditions of supervised release resulting

    in revocatioi.1 may require the defendant to serve a tem1 of imprisonment equal to the length of


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    the tem1 of supervised release, but not greater than the term set forth in Title 18, United States

    Code, Section 3583(c)(3), withoµt credit for the time served after release. The defendant

    understands that parole has been abolished

                d. Mandatory Special Assessment: P'ursuant to Title 18, United States Code, Section

    3013, the Court is required to impose a ma1Jdatory special assessment of $100 per coimt for a

    total of $200, which the defendant agrees to pay at the time of sentencing. Money paid by the

    defendant toward any restitution or fine imposed by the Court shall be first used to pay any

    unpaid mandatory special assessment.

                e. Possibility of Detention: The defendant may be subject to immediate detention

    pt1rsuant to the provisions of Title 18, United States Code, Section 3143.

                f. Fines, Restitution and Costs of Incarceration and Supervision: The Court may

    impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration

    and costs of supervision. The defendant agrees that any fine or restitution imposed by the Court

    will be due and payable immediately. The defcnd!ml specifically agrees to pay $ r , 7 ~')

   -rest it, 1tiol-l

    9. ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

               In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

    rights, including but not limited to: the right to plead not guilty to the charges; the right to be

    tried by a jury in a public and speedy trial; the right to file pretrial motions, including motions to

    suppress or exclude evidence; the right at such trial to a presun1ption of innocence; the right to

    require the government to prove the elements of the offenses·against the defendant beyond a

    reasonable doubt; the right not to testify; the right not to present any evidence; the right to be

    protected from compelled self-incrimination; the right at trial to confront and cross-examine

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      adverse witnesses; the right to ,testify and prescntevidcncc and the right to compel the attcridan,ce

      of witnesses. The defendant further understands_ that by this guilty plea, the defendant expressly

     waives all th_e rights set forth in this paragraph.

             The defendant fully understands that the defendant has the right to be represented by

     counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of

     the proceeding. The defendant's counsel has explained these rights and the consequences of the-

     waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no trial

     will, in fact, occur and that the only action remaining to be taken in this casejs the imposition of

     the sentence.

             The defenda11t is fully satisfied with the. 'representation received from defense couns·el.

     The defendant has_ reviewed the_ govemn1ent's evidence and discussed the gov.ei111nent's case and

     all possible defenses and defense witnesses with defense counsel. Defense counsel has

     completely and satisfactorily ex,plored all areas which the defendant has requested relative to the

     go\/~qunent's case and any defenses.

     10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

             This document constitutes the entire agrecnient between the defehdant and the

     goVernrhent, and no other promises or inducen1ents have been made, d_irectly or indirectly, by

     any agent of the government, including any Department of.Justice attorney, concerning any plea

     to be entered in this case. In addition, the defendant states'that no person ha~, directly or

     indirectly, threatened or coerced the defendant to do or refrain from doing anything tri

     conpection with any aspect of this case, including entering a pica of guilty.

             The defendant acknowledges having voluntarily entered into both the plea agreement and

     the,guilty plea. The defendant fo1ther acknowledges that this guilty plea is made qf the

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      defendant's own free will and that the defendant is, in fact, guilty.

      11. CONSEQUENCES OF POST-PLEA MISCONDUCT:

             After pleading guilty and before sentencing, if defendant commits any crime, other than

      minortraffic offenses, violates any condition ofrelease that results in revocation, violates any

      tem1 of this guilty plea agreement, intentionally provides misleading, incomplete or uritruthful

      information to the U.S. Probation Oflice or fails to appear for sentencing, the United Sta,tes, at its

      option, may be released from its obligations under this agreement. The Government may also, in

      its discretion, proceed with this agreement and may advocate for any sentencing position

      supported by the facts, including but not limited to obstruction of justice and denial ot'

      acceptance of responsibility.

      12. NO RIGHT TO WITHDRAW GUILTY PLEA:

             Pursuant to Rule 1l(c) and (d), Federal Rules ofCrii11inal Procedure, the defendant

      understands that there will be no right to withdraw the plea entered under this agreement, except

      where the Comt rejects those po1tions of the plea agreement which deal with charges the

      goveniment agrees to dismiss or not to bring.




                                                                    J. WARE
                                                               ssis:am United States A~~



             Date
                                                               4~v~
                                                             BRIAN GANSEREIT
                                                             Defendant

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             Date                                           ~AN
                                                            Attorney for DefGhdant

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